                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION



         UNITED STATES OF AMERICA                              )
                                                               )
                           vs.                                 ) Case No. 3:12-cr-239
                                                               )
         JOHN WAYNE PERRY, JR. (11)                            )
         _________________________________                     )



                                                      ORDER


         THIS MATTER is before the Court on Defendant’s Motion in Limine to Exclude

Testimony of Debra Sherrill (Doc. No. 579) and Motion to Exclude Testimony of Vincent

Maldini (Doc. No. 583). After careful consideration of Defendant’s Motion as to Debra Sherrill,

the Court finds that the Government’s notice meets the requirements of Rule 16 of the Federal

Rules of Criminal Procedure and that the probabtive value of this testimony is not outweighed by

any danger of undue delay or the presentation of cumulative evidence.1

         As to Defendant’s Motion to Exclude the Testimony of Vincent Maldini, the Government

shall have until noon on Friday, June 6, 2014 to file its response, which should include a brief

outline of the testimony that Mr. Maldini is expected to give at trial. The Court will conduct a

brief hearing on this matter after the selection of the jury on Monday June 9, 2014. At that time,

the Court will also take up the parties’ other motions in limine pending in this case (Doc. Nos.

448 & 472).

         IT IS THEREFORE ORDERED that Defendant’s Motion in Limine to exclude the

1
 The Court also notes that, since the filing of Defendant’s Motion, he has been given access to transcripts of Dr.
Sherrill’s testimony from a previous trial segment in this matter in order to aid his trail preparation.



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testimony of Debra Sherrill (Doc. No. 579) is DENIED. The Court will reserve judgment on

Defendant’s Motion to Exclude Testimony of Vincent Maldini (Doc. No. 583) until Monday June

9, 2014.

SO ORDERED.

 Signed: June 3, 2014




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